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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

DEMETRIUS MINOR,              :          CIV. NO. 19-18261 (RMB-AMD)
                              :
               Plaintiff      :
                              :
     v.                       :          ORDER APPLIES TO BOTH ACTIONS
                              :
SERGEANT DAVID DILKS, et al., :
                              :
               Defendants     :



DEMETRIUS MINOR,                   :     CIV. NO. 20-8601 (RMB-AMD)
                                   :
                  Plaintiff        :
                                   :
      v.                           :     ORDER APPLIES TO BOTH ACTIONS
                                   :
JOHN POWELL, et al.,               :
                                   :
                  Defendants



      This matter comes before the Court upon Plaintiff’s filing of

a civil action, No. 20-8601, which presents common issues of law

and fact with Civil Action No. 19-18261, for which the Court has

appointed Plaintiff pro bono counsel and Defendants have been

served with the original complaint. The Court will consolidate the

actions pursuant to Federal Rule of Civil Procedure 42(a)(2) and

direct Plaintiff’s counsel to file a status update within 30 days.

      IT IS therefore on this 15th day of July 2020,
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      ORDERED that Civil Actions 19-18261(RMB-AMD) and 20-8601(RMB-

AMD) shall be consolidated; and it is further

      ORDERED t h a t   it is requested that Plaintiff’s pro bono

counsel, within 30 days of entry of this Order, file a status

update of these actions with the Court; and it is further

      ORDERED that the Clerk of the Court shall serve Plaintiff

with a copy of this Order by regular mail.



                                          s/Renée Marie Bumb
                                          RENÉE MARIE BUMB
                                          United States District Judge




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